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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

CASE NO. 18-cr-00359-REB

UNITED STATES OF AMERICA,

              Plaintiff,

v.


LAWRENCE MARTIN BIRK,

          Defendant.
_____________________________________________________________________

                     STIPULATED JURY INSTRUCTION
 _____________________________________________________________________

       Defendant, Lawrence Martin Birk, by and through undersigned counsel, hereby

submits the following stipulated jury instruction.


                                           Respectfully submitted,


                                           VIRGINIA L. GRADY
                                           Federal Public Defender



                                           s/ Edward R. Harris
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                              CERTIFICATE OF SERVICE

      I hereby certify that on July 11, 2019, I electronically filed the foregoing

                          STIPULATED JURY INSTRUCTION

with the Clerk of Court using the CM/ECF system which will send notification of such filing
to the following e-mail addresses:

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